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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                       v.

 NICHOLAS RODEAN,                                     Case No. 1:21-cr-00057 (TNM)

                       Defendant.


                                           ORDER

       Upon consideration of the Government’s [19] Proposed Briefing Schedule and Discovery

Schedule and Defendant Nicholas Rodean’s [20] Notice of Objections to Government’s

Proposed Briefing and Discovery Schedule, it is hereby

       ORDERED that the parties shall adhere to the below discovery schedule; and it is also



        All materials prescribed by Federal Rule of
        Criminal Procedure 16(a)(1)(A), (B), (D),                  August 13, 2021
        (E), (F), and (G) and 16(b)


        Any potentially exculpatory material under                 The Government shall promptly
        Federal Rule of Criminal Procedure 5(f)(1)                 produce exculpatory evidence in
                                                                   time for its effective use at trial
                                                                   and no later than September 24,
                                                                   2021.

        Defendant will specifically request any
        additional material that he deems to be                    October 1, 2021
        exculpatory


        Government will (1) provide materials
        requested by Defendant or (2) advise the                   October 11, 2021
        Defendant that such materials do not exist or
        (3) oppose the production of such materials
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        Any impeachment materials related to any
        individuals whom the Government intends                  October 15, 2021
        to call as witnesses in the trial


        Witness statements pursuant to 18 U.S.C. §               October 21, 2021
        3500 and Federal Rule of Criminal
        Procedure 26.2


       ORDERED that the parties shall adhere to the below briefing schedule:

       Motions                             August 20, 2021

       Oppositions                         September 10, 2021

       Replies                             September 17, 2021



       SO ORDERED.
                                                                          2021.06.09
                                                                          15:44:16 -04'00'
Dated: June 9, 2021                                  TREVOR N. McFADDEN, U.S.D.J.




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